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                   ORAL ARGUMENT NOT YET SCHEDULED

                 UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT

TAYLOR BUDOWICH,                       )
                                       )
                                       )
Appellant,                             )
                                       )               No. 22-5222
      v.                               )      (D.D.C. No. 1:21-cv-03366-JEB)
                                       )
NANCY PELOSI, et al.,                  )
                                       )
      Appellees.                       )
                                       )
                                       )

          STIPULATION OF VOLUNTARY DISMISSAL
 PURSUANT TO FEDERAL RULE OF APPELLATE PROCEDURE 42(B)

      IT IS HEREBY STIPULATED AND AGREED by and between the Parties

that the above-captioned appeal is voluntarily dismissed with prejudice in

accordance with Federal Rule of Appellate Procedure 42(b). Each party shall bear

its own costs and fees.

      Dated: March 6, 2023                 Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that on March 6, 2023, the foregoing Stipulation of Voluntary

Dismissal was filed with the Clerk of the United States Court of Appeals for the

District of Columbia Circuit using the appellate CM/ECF system and served

electronically on all counsel of record.

                                              s/ Christopher W. Dempsey
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